 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 1 of 8 PageID #: 259




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC §
                           §
        Plaintiff,         §                            Civil Action No.: 2:16-cv-0450
    vs.                    §
                           §                            [Consolidated Lead Case]
LANDMARK BANK, N.A.        §
                           §                            [Member Case 2:16-cv-0448]
        Defendant.         §


                 LANDMARK BANK, N.A.’S ANSWER TO COMPLAINT

       Defendant Landmark Bank, N.A. (“Landmark”) answers Plaintiff’s Complaint for

Patent Infringement as follows:

                                PARTIES AND JURISDICTION

       1.      With respect to Plaintiff’s allegations in paragraph 1, Landmark admits that the

Complaint purports to state claims under the patent laws of the United States. Landmark does not

contest that this Court has subject matter jurisdiction with respect to this matter. Landmark

otherwise denies the allegations in paragraph 1 and expressly denies committing, or being liable

for, any act of infringement of the asserted patents.

       2.      With respect to Plaintiff’s allegations in paragraph 2, Landmark admits that the

Complaint purports to state claims under the patent laws of the United States. Landmark does not

contest that this Court has subject matter jurisdiction with respect to this matter. Landmark

otherwise denies the allegations in paragraph 2 and expressly denies committing, or being liable

for, any act of infringement of the asserted patents.

       3.      Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 3, and therefore denies such allegations.


                                                  1
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 2 of 8 PageID #: 260




         4.    Landmark admits that it is corporation organized and existing under the laws of

the State of Missouri with a place of business located at 801 East Broadway, Columbia, Missouri

65201.

         5.    With respect to Plaintiff’s allegations in paragraph 5, Landmark admits that it

transacts business in the State of Texas, and does not contest personal jurisdiction in this Court.

Landmark otherwise denies the allegations in paragraph 5 and expressly denies committing, or

being liable for, any act of infringement of the asserted patents.

         6.    With respect to Plaintiff’s allegations in paragraph 6, Landmark admits that it

transacts business in the State of Texas. Landmark otherwise denies the allegations in paragraph

6 and expressly denies committing, or being liable for, any act of infringement of the asserted

patents.

                                               VENUE

         7.    With respect to Plaintiff’s allegations in paragraph 7, Landmark admits that it

transacts business in the State of Texas. Landmark otherwise denies the allegations in paragraph

7 and expressly denies committing, or being liable for, any act of infringement of the asserted

patents.

                                               COUNT I:

              [ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,424,752

         8.    In response to paragraph 8, Landmark incorporates by reference its responses to

paragraphs 1-7 as if fully set forth herein.

         9.    With respect to Plaintiff’s allegations in paragraph 9, Landmark admits that the

Complaint purports to state claims under the patent laws of the United States. Landmark




                                                  2
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 3 of 8 PageID #: 261




otherwise denies the allegations in paragraph 9 and expressly denies committing, or being liable

for, any act of infringement of the asserted patents.

       10.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 10, and therefore denies such allegations.

       11.     Landmark admits that what appears to be a copy of United States Patent No.

8,424,752 is attached as an Exhibit to the Complaint.

       12.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 12, and therefore denies such allegations.

       13.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 13, and therefore denies such allegations.

       14.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 14, and therefore denies such allegations.

       15.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 15, and therefore denies such allegations.

       16.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 16, and therefore denies such allegations.

       17.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 17, and therefore denies such allegations.

       18.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 18, and therefore denies such allegations.

       19.     Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 19 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.



                                                  3
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 4 of 8 PageID #: 262




       20.     Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 20 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.

       21.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 21, and therefore denies such allegations.

                                            COUNT II:

              [ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,651,369

       22.     In response to paragraph 22, Landmark incorporates by reference its responses to

paragraphs 1-21 as if fully set forth herein.

       23.     With respect to Plaintiff’s allegations in paragraph 23, Landmark admits that the

Complaint purports to state claims under the patent laws of the United States. Landmark

otherwise denies the allegations in paragraph 23 and expressly denies committing, or being liable

for, any act of infringement of the asserted patents.

       24.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 24, and therefore denies such allegations.

       25.     Landmark admits that what appears to be a copy of United States Patent No.

8,651,369 is attached as an Exhibit to the Complaint.

       26.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 26, and therefore denies such allegations.

       27.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 27, and therefore denies such allegations.

       28.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 28, and therefore denies such allegations.



                                                  4
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 5 of 8 PageID #: 263




       29.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 29, and therefore denies such allegations.

       30.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 30, and therefore denies such allegations.

       31.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 31, and therefore denies such allegations.

       32.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 32, and therefore denies such allegations.

       33.     Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 33 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.

       34.     Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 34 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.

       35.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 35, and therefore denies such allegations.

                                            COUNT III:

              [ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 8,936,190

       36.     In response to paragraph 36, Landmark incorporates by reference its responses to

paragraphs 1-35 as if fully set forth herein.

       37.     With respect to Plaintiff’s allegations in paragraph 37, Landmark admits that the

Complaint purports to state claims under the patent laws of the United States. Landmark




                                                 5
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 6 of 8 PageID #: 264




otherwise denies the allegations in paragraph 37 and expressly denies committing, or being liable

for, any act of infringement of the asserted patents.

       38.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 38, and therefore denies such allegations.

       39.     Landmark admits that what appears to be a copy of United States Patent No.

8,936,190 is attached as an Exhibit to the Complaint.

       40.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 40, and therefore denies such allegations.

       41.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 41, and therefore denies such allegations.

       42.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 42, and therefore denies such allegations.

       43.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 43, and therefore denies such allegations.

       44.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 44, and therefore denies such allegations.

       45.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 45, and therefore denies such allegations.

       46.     Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 46, and therefore denies such allegations.

        47.    Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 47 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.



                                                  6
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 7 of 8 PageID #: 265




         48.   Landmark denies that Plaintiff is entitled to an injunction, or to any relief

whatsoever from Landmark. Landmark otherwise denies the allegations in paragraph 48 and

expressly denies committing, or being liable for, any act of infringement of the asserted patents.

         49.   Landmark lacks information sufficient to form a belief as to the truth of Plaintiff’s

allegations in paragraph 49, and therefore denies such allegations.

                                     PRAYER FOR RELIEF

         Landmark denies that Plaintiff is entitled to any of the relief requested in paragraphs A-E

of its Prayer for Relief, or to any relief whatsoever from Landmark. Landmark specifically

denies committing, or being liable for, any act of infringement.

                           LANDMARK ADDITIONAL DEFENSES

         1.    Landmark has not infringed and is not infringing any valid claim(s) of any

asserted patent.

         2.    The claims of the asserted patents are invalid, void and/or unenforceable for

failure to comply with the requirements of 35 U.S.C. §§ 101, 102, 103 and/or 112.

         3.    Plaintiff’s claims are barred, in whole or in part, under the doctrine of laches,

waiver, exhaustion, and/or estoppel.

         4.    Plaintiff’s claims are barred, in whole or in part, under the doctrine of unclean

hands.

         5.    Plaintiff’s Complaint fails to state a claim for which relief can be granted,

including but not limited to purporting to state a claim for relief arising from an invalid patent

and/or a patent that fails to claim patentable subject matter.

         6.    Plaintiff’s claims are barred, in whole or in part, due to Plaintiff’s failure to

reasonably mitigate its damages, if any.



                                                  7
 Case 2:16-cv-00450-JRG Document 55 Filed 07/25/16 Page 8 of 8 PageID #: 266




       7.       Plaintiff’s damages are limited in view of Plaintiff’s failure to mark or otherwise

provide adequate notice to Landmark.




July 25, 2016                                 Respectfully submitted,

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                                              ATTORNEYS FOR DEFENDANT
                                              LANDMARK BANK, N.A.



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on July 25, 2016, to all counsel of record who are deemed to have
consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                  /s/ Sherri A. Wilson




                                                  8
